       Case 3:17-cv-04002-LB Document 40-3 Filed 11/24/17 Page 1 of 3



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11

12                              UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14                                      SAN FRANCISCO

15

16   OPEN SOURCE SECURITY, INC., and            Case No. 3:17-cv-04002-LB
     BRADLEY SPENGLER,
17                                               DECLARATION OF MELODY
                          Plaintiffs,            DRUMMOND HANSEN IN SUPPORT
18                                               OF DEFENDANT BRUCE PERENS’S
            v.                                   ADMINISTRATIVE MOTION
19                                               PURSUANT TO CIV. L.R. 7-11 FOR
     BRUCE PERENS, and Does 1-50,                LEAVE TO FILE A SURREPLY AND
20                                               SUPPLEMENTAL DECLARATION
                          Defendants.
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28                                                   DRUMMOND HANSEN DECL. ISO DEFT’S
                                                               MOT. FOR LEAVE TO FILE
                                                               SURREPLY & SUPP. DECL.
                                                                      3:17-CV-04002-LB
       Case 3:17-cv-04002-LB Document 40-3 Filed 11/24/17 Page 2 of 3



 1                     DECLARATION OF MELODY DRUMMOND HANSEN
 2          I, Melody Drummond Hansen, declare as follows:

 3          1.      I am a partner of O’Melveny & Myers LLP, attorneys of record for Defendant

 4   Bruce Perens in this action. I am admitted to practice before this Court. I submit this Declaration

 5   under Civil Local Rule 7-11 in Support of Defendant’s Motion For Leave to File a Surreply and

 6   Supplemental Declaration. I have personal knowledge and am informed of the facts stated herein

 7   and, if called to testify, I could and would testify completely hereto.

 8          2.      On November 18, 2017, counsel for Mr. Perens contacted counsel for Open Source

 9   Security, Inc. (“OSS”) to inform him of Mr. Perens’s intent to seek leave to file a surreply and

10   supplemental declaration to correct a small factual inaccuracy in Mr. Perens’s October 31

11   Declaration and to respond to ways that Mr. Perens believes OSS misconstrues that Declaration in

12   OSS’s Reply to suggest that Mr. Perens reviewed the Grsecurity Agreement before posting a July

13   9 comment. In his October 31 Declaration, Mr. Perens referred to reviewing the Grsecurity

14   Agreement later in the evening of July 9. He has now confirmed based on searching his emails

15   that he first read the Grsecurity Agreement the next morning, on July 10, and that he stated in his

16   email response that he did not have a copy of the Grsecurity Agreement before. Counsel for Mr.

17   Perens provided the emails to OSS’s counsel and asked whether OSS would stipulate to allow

18   Mr. Perens to submit a supplemental declaration with the emails and to file a surreply to respond

19   to statements in OSS’s Reply regarding when Mr. Perens first reviewed the Grsecurity

20   Agreement.

21          3.      Counsel for the parties exchanged several emails discussing the issue until

22   November 21 but were unable to reach an agreement on a stipulation. Counsel for OSS does not

23   agree that Mr. Perens should be permitted to change his declaration after OSS’s Reply and does

24   not agree that a surreply is necessary given that Mr. Perens can raise these matters at the hearing.

25   OSS also believes that it did not introduce new evidence in its Reply. Counsel for OSS asked that

26   we attach his email to our request for leave. Mr. Perens’s counsel declined to do so, explaining

27   that OSS will have the opportunity to respond to Mr. Perens’s motion for leave and we believe

28                                                                DRUMMOND HANSEN DECL. ISO DEFT’S
                                                                            MOT. FOR LEAVE TO FILE
                                                       1                    SURREPLY & SUPP. DECL.
                                                                                   3:17-CV-04002-LB
       Case 3:17-cv-04002-LB Document 40-3 Filed 11/24/17 Page 3 of 3



 1   that attaching such colloquy among counsel is disfavored.
 2          I declare under penalty of perjury under the laws of the United States that the foregoing is
 3   true and correct, and that this declaration was executed this 24th day of November 2017 in Tega
 4   Cay, South Carolina.
 5                                                        By: /s/ Melody Drummond Hansen
                                                             Melody Drummond Hansen
 6                                                           Of O’Melveny & Myers LLP
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28                                                               DRUMMOND HANSEN DECL. ISO DEFT’S
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